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Updells Feri Ayu \c

GARNISHEE NAME

Po. Zone 29471214

GARNISHEE ADDRESS

Phaenie fz $SO32¥

 

UOV6 72 2d-2Z2c008

GARNISHEE TELEPHONE

   

GARNISHEE EMAIL

Px CU

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FOR THE CENTRAL DISTRICT OF CALIFORNIA ~

UNITED STATES OF AMERICA,
Plaintiff,

Vv;

VINCENT JOHN RABIOLA,

Defendant.

 

 

 

No. CV 18-10588-SJO
[CR 99-0188-MMM-4]

ANSWER OF GARNISHEE
WELLS FARGO BANK, N.A.

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DECLARANT STATES:

My name is Nuk oO LQrc_ and my address and telephone
number are ae xx 299749 Prioenie An S023
Dhara 4 AGO~ 72-2698

 

1. I am authorized to make this declaration on behalf of Garnishee
(do Us fame Bunk — regarding the writ of continuing garnishment
TT

received by Garnishee on Vana yy 2.3, 2019 _.
IF GARNISHEE IS AN INDIVIDUAL:

is the Garnishee herein, doing business in the name of

 

 

IF GARNISHEE IS A PARTNERSHIP:
The person making this declaration is a member and partner of the Garnishee,

which is a partnership conducted under the name of at

 

IF GARNISHEE IS A CORPORATION:

The person making this declaration is the a\ Ont of
0 (OFFICIAL TITLE)

 

Garnishee \ 0. \\s karan Punlca corporation, organized under the laws of the
State of _ (Qe luce —
dD As of [date] \| 2ll2o1 © __, Garnishee has custody, control, or

possession of the following funds, assets, and/or property, in which Defendant has a

 

 

 

 

 

nonexempt interest: +o[,dio.z45

Description of Property Approximate Value Description of Defendant’s
Interest in Property

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bOs3S L2Zit 36 Owrewt

c UYF4 274 depl Onuy

d. (

 

 
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De Garnishee anticipates owing to Defendant in the future, the following
amounts: UN ICNOW
Amounts Estimate Date or Period Due
$
. §
c. 86§
4 Is Defendant subject to an existing garnishment or levy? o Yes s{No

If yes, what is the outstanding amount now due and owing? $
5. If Garnishee is unable to determine the identity of Defendant after making a
good faith effort to do so, the following is a statement of Garnishee’s efforts made and

the reasons for such inability:

 

 

 

6. Garnishee owed Defendant the sum of $ on the date the writ

of continuing garnishment was served for the following reasons:

 

 

de On [date] Woh \ “_, Garnishee commenced withholding and retaining
Defendant’s nonexempt assets, funds, and/or property and will continue to withhold and
retain such nonexempt assets, funds, and/or property until further order from the Court.

8. Garnishee mailed a copy of this answer by first-class mail on this date to:
(a) Defendant, at the address provided by the United States of America and (b) The U.S.
Attorney’s Office for the Central District of California, ATTN: Financial Litigation
Section, Suite 7516, Federal Building, 300 N. Los Angeles St., Los Angeles, California
90012.

I declare under penalty of perjury that I have read the foregoing document and that
ZY , 2019.

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the statements made therein are true and correct. ava on \p On ace

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\ STEPTOE OF DECLARANT

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PROOF OF SERVICE BY MAILING
L tralian Coyt. , declare:
I am over the age of eighteen and am not a party to the above-entitled action;
That I am employed by Li el L<, Taras Rank herein was made;
thaton \pinua uy 24 20\9_ [Date], I deposited in the above-entitled action, in an
envelope bearing the requisite postage, a copy of ANSWER OF GARNISHEE

WELLS FARGO BANK, N.A. addressed to:

U.S. Attorney’s Office for the Central District of California
ATTN: Financial Litigation Section

Room 7516AA, Federal Building

300 North Los Angeles Street

Los Angeles, California 90012

Vincent John Rabiola
Beverly Hills, California 90212-3017

 

at their last known address provided by the United States, at which place there is a
delivery service by U.S. Mail.

 

This Certificate is executed on \ OhKHusry 24, 2r4 [Date], at
P hoenrwy [City], Di cane [State].

 

I certify under penalty of perjury that the foregoing is true and correct.

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